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                                                                                          Email: info@aiellocannick. com
Of Counsel
John S. Esposito
An thony J. Rattoballi
                                                                     October 16, 2020

         VIA ECF
         Hon. Kenneth M. Karas
         United States District Court
         Southern District of New York
         300 Quarropas Street, Chambers 533
         White Plains, New York 10601-4150

                   Re:      United States v. Daniel Spotards
                            7: 16-cr-00666-Kl\<IK

         Dear Honorable Judge Karas:

                I represented Daniel Spotards in the above indictment before Your Honor, pursuant to a
         CJA appointment. Mr. Spotards was sentenced on May 16, 2018 to a term of imprisonment of 78
         months.

                Mr. Spotards is presently serving his sentence at FCI Berlin. Mr. Spotards has contacted
         me seeking to be released on home confinement for the duration of the crisis or for compassionate
         release based on his medical issues; he has suffered with a myriad of severe health conditions and
         is at high risk of contracting the virus.

                 In order for me to prepare and pursue an application for compassionate release, I
         respectfully request that the Court re-appoint me as CJA counsel to represent Mr. Spotards for this
         purpose, nunc pro tune to September 1, 2020, which is the date on which Jvfr. Spotards first
         contacted me.

                   Thank you for your courtesy and consideration.

              Granted.

              So Ordered.



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               10/16/20




         DLC/ad
